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EXH]BIT “B”
COMPLA[NT TO TRANS UNION, LLC

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sTATE 011 MICHIGAN '
lN THE 54B msch coURT
DANIEL EssA,
Plainaff,
V.

EXPERIAN ]NFORMATION SOLUTIONS, INC.,

Case No. 16-1227-GC
an Ohio corporation,
EQUIFAX INFORMATION SERVICES, LLC, Judge Larkin
a Ge°raia wmpany,

'I'RANS UNION, LLC,

a Delaware limited liability company, and
NATIONSTAR MORTGAGE, LLC,

 

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a Dclaware company, ,'_ §": ="‘ W
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Defendanfs. . '.:> m reg C')
/ "Z:‘-?\ ;;’, m
GARY D. NI'I`ZK]N (P41155) §§ -<-
TRAVIS SHACKELFORD (P68710) .»4§ ]> m ‘
M'ICHIGAN CONSUl\/IER CREDIT LAWYERS 325 § c
Attorneys for Plaintiifs §§ w
22142 mein¢, Mile Road '* ~’
South;field, MI 48033
Phone (248) 353-2882
Fm{ (248) 353-4840

Email -~ M@gcreditlamer.com
/

PLAINTIFF’S FIRST AMENDED COMPLA]NT AND JURY DEMAND

NOW COMES THE PLAINTIFF, DANIEL ESSA, 'I`HROUGH COUNSEL,
MICHIGAN CONSUMER CREDIT LAWYERS, BY GARY D. NITZKIN, and for his First
Amended Complaint against the Defendants, plead as follows:

VENUE
1. 'I'hc transactions and occurrences Which give rise to this action occurred in Okemos,

Ingham County, Michigan.

2. vVe.muc is proper in 54B District Court in Ingham County, Michigan as the actions and

commences recited herein occurred in Okcmos, in Ingham County, Michigan.
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' 3. 'I'he amount in controversy is less than twenty five thousand dollars ($25,000.00)

exclusive of costs, interest and attorney’s fees.

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. PARTIES § § "’ 2

' . C">
4. The Defendants to this lawsuit are: §§ > m
as § 0
a. Experian Information Solutions, Inc. (“Experian”) which is an OEczcorp'§’mtion

that maintains a registered agent in Oakland County, Michigan;
b. Equifax lnformation Services, LLC (“Equifax”) which is a Georgia company that
maintains a registered agent in Ingham County, Michigan;
c. 'I`rans Union, LLC (“Trans Union”) which is a Delaware limited liability company
that maintains a registered agent in lngharn County; and
d. Nationstar Mortgage, LLC (“l\lationstar") which is a Delaware company that

maintains a registered agent in lngham County, Michigan.

GENERAL ALLEGATIONS
5. In 2011, Plaintiff and Bank ofAmerica entered into a Loan Modifrcation Agreement
regarding his mortgage on his home located in Charlevoix, Michigan. Per this
Agreement, $1,222.028.04 of the new principal balance was to be deferred and Plaintiii`

was not to pay interest or make monthly payments on the $l,222,028.04 amount

6. The modification with Bank ofAmerica was completed in February 201 l. The

modification was a permanent modification and was recorded at the county court house

in Liber 955, Pa.ge 0554. 'I`his modification recited the following:

a me coral loan amount with principal and interest was $1,219,014.99;

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b. The loan was being modified and Plainti&` was to pay principle and interest on
$l, 096, 986. 95;

c. There was to be a deferred principle balance of 3122,028.04 and there was to
be no monthly payments nor was there any interest to be charged on the
deferred principle;

d. This amount was to be paid when Plaintift’s loan matured lanuary 2037 .

7. In 2014, Plaintili` entered into a new loan modification with Nationstar. Per this
agreement, his modified monthly payments were to be $8,613.85, which was an estimate
Plainti§` was never late in making his modified payments to Nationstar and complied
with all the terms of this new loan modification agreement
d. When Nationstar did a temporary modification, it charged interest on the $122,028.04 as
} well as the rest of the principle and interest of the other`loan. When this modification
ended, the terms ofPlaintiH’s mortgage were to revert back to the terms of the Bank of
Am¢rica note ` ii

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9. However, when the mo&fication ended, Nationstar rolled the deferred'gd;?‘f:e of

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3122, 028. 04 into the other note and began demanding that interest be pai§on tl£s rioth

mr ....
well as the monthly mortgage payments gm 3 CJ

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10. On or about March 24, 2016, Plaintift` received an Annual Escrow Disclosure S"Jtement

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from Nationstar which stated that his new monthly payment was 38,703.35.
ll. Sometime in April 2016, Defendant Nationstar starting charging Plainti;&` 310,842. 10 for
' his monthly payments on the home. This was contrary to the payment terms set out in the
2014 loan modification agreement with Nationstar. Plaintiff never breached the terms of
that loan modification agreement with Nationstar, so Nationstar never had a right to raise

his monthly payments.

 

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12. On or wout April 16, 2016, Mr. Essa sent a letter to Nationstar disputing the new
monthly payment amount of $10,842.10.

13. On or about May 3, 2016, Plaintid` received a letter from Nationstar. This letter stated,
“The loan modification that you were approved for in 2014 with Nationstar Mortgage
trumps the loan mo&tication you were approved for in 201 l. Based on your 2014 loan
modiEcation agreement your terms expired as of April l,v2016 and reverted back to the
Original Note.” With this letter, Nationstar attached a copy of the Note which stated that
Plainti&` owed monthly payments of $7,541.39 on their mortgage

14. On or about August 27, 2016, Mr. Essa received an alert li‘om his credit monitoring
service which stated that he was 30 days past due on the Nationstar trade line with

aecount number 617249XXXX (“Errant Trade Line”). He then suhmitteda disYte law

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tothe credit bureaus online. tim "’ O
15. On or about September 19,2016,M1.Essa received Experian’ s invean resl\;lts 2
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which showed that Nationstar was reporting its Errant Trade Lme with IBQ>ayr§nts aEB

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an erroneous monthly payment amount of $10,793 .00. ‘

16. On or about September 21, 2016, Plaintit'f submitted letters to Experian, Equifax and
'I`rans Union (“CRAS”) disputing the Errant Trade Line. In these dispute letters, Pla.inti.tf
k disputed the late payment in July 2016 and the monthly payment of $10,793.00. Plaintiff
attached a transaction history from Nationstar showing he were not late in making his ,
pwment in July 2016. Plaintiif stated that there was a loan modification and per the terms
of it, Plaintift` was to pay an estimated monthly payment of $8,613.85 until the principal
and interest were paid in full. Plaintiff also stated that he received an escrow analysis

ti'om Nationstar which stated that his monthly payment would be $8,703.35. Plaintiii`
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attached a copy of the Loan Modilication from 2014 and the Annual Escrow Account
Disclosure Statement from Nationstar confirming the same. Plaintiff requested that
Nationstar remove the monthly payment of $10,793.00 and replace it with $8,703.35. He
also requested that the late payment in July 2016 be removed from his credit iiles.
17. Upon information and belief, the CR\As forwarded Plaintiti’s consumer disputes to
Nationstar.
18. On or about October 4, 2016, Mr. Essa received correspondence from Experian which
stated that it was contacting the furnisher.
19. On or about October 20, 2016, Mr. Essa received Experian’s investigation results which
showed that Nationstar retained the erroneous monthly payment of510,793.00. lt also
retained the late payment hom July 2016 and reported a late payment in August 2016.

20 On or about October 22, 2016, Mr Essa received Equifax’ s investigation results;which

21. Onor about October25, 2016, Mr. Essareceived Trans Union’ sinvesti re ts

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which showed that Nationstar retained the erroneous $10,793.00 monthlypaymed lt

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showed that Nationstar retained the erroneous monthly payment of 310 793.¢00 §lso m
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retainedthelatepaymentremarkfrom July 2016. §§ § m
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also retained the late payment in July 2016 and reported a late payment in August 2016.

22. As a' direct and proximate cause of the meantime negligent and/or willie failure m
comply with the Fair Debt Collection Practices Act, 15 U.S.C. § 1681 et seq., Plainti:&`
has suffered credit and emotional damages Due to the Defendants’ failure to correct the
errors in his credit Hles, Plainliff has been forced to re&ain from applying for new credit
or more favorable terms on existing credit lines. Plaintiff has also experienced undue

stress and mercy due w narrative failure w correct the errors in this credit nies or
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improve his financial situation by obtaining new or more favorable credit terms as a
re¢ttlt efthe Dereurlauts’ violations uf the FCRA.

COUNT _I

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT

BY NA'rloNsTAR _ ~ _,
_ t ~ _' .'l.§ '-»” 30
. . . . . . ‘1’ ?ft <=’ m
23. Plamtlffrealleges the above paragraphs as if recited verbatim 'J m ~ § O

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24. After being informed by the CRAs of Plaintift’s consumer dispute to th§€¥rant'; <
Line, Nationstar negligently failed to conduct a proper investigation of thtH’§llsp@
- t a
- er required by 15 Usc leslr-z(b). ""

25 . Nationstar negligently failed to review all relevant information available to it and
provided by the CRAs in conducting its reinvestigation as required by 15 USC 1681s-
2(b). Speci£ca.lly, it failed to dirut the CRAs to correct the erroneous monthly payment
and remove the late payment in Iuly 2016 from Plaintiii’s credit tiles.

26. 'I'he Errant Trade Line is inaccurate and creating a misleading impression on Plaintiff’s

consumer credit files with the CRAs to which it is reporting such trade line.

27. As a direct and proximate cause ofNationstar’s negligent failure to perform its duties
imder the FCRA, Plaintiff has suH`ered damages, mental anguish, sud`ering, humiliation
and embm'assment.`

28. Nationstar is liable to Plaintiff by reason of its violations of the FCRA in an amount to be
determined by the trier fact together with reasonable attorneys’ fees pursuant to 15 USC
lsslu.

29. Plaintili`has a private right of action to assert claims against Nationstar arising under 15
USC l681s-2(b).

 

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WHEREFORE PLAINT[FF PRAYS that this court grant him a judgment against the
Defeiidant Nationstar for damages, costs, interest and attorneys fees in the amount of less than
` twenty five thousand dollars ($25,000.00) exclusive of costs interest and attorney s fees
COUNT II
WILLFUL VICLATION OF TI'IE FAIR CREDIT REPORTING ACT

BY NATIONSTAR
30. Plaintiti'realleges the above paragraphs as if reoited verbatim

31. Aiter being informed by the CRAs that the Plaintitf disputed the accuraey»ef th

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information it was providing, Nationstar willfully failed to conduct a proge§ iii ‘;n,
c_,,. -<
reinvestigation of Plaintifi"s dispute. §§ b m
. cig-632 § 0
32 Nationstar willfully failed to review all relevant information available to iBi'éd prbj_’§ded
by the CRAs as required by 15 USC 16813-2(b)

33 As a direct and proximate cause of Nationstar’s willful failure to perform its respwtive

duties imder the FCRA, Plainti&` has suffered damages, mental anguish, suft`ering,
humiliation and embarrassment

34 Nationstar is liable to Plainti&` for either statutory damages or actual damages he has
sustained by reason of its violations of the FCRA in an amount to be determined by the
trier faet, together with an award of punitive damages in the amount to be determined by

the trier of fact, as well as for reasonable artorneys’ fees he may recover therefore
pmsuantto 15 USC1681n.

WHEREFORE, PLAINTIFF PR’AYS that this court grant him a judgment against

Nationstar for the greater of statutory or actual damages, plus punitive damages, along with

 

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costs, interest and attorneys’ fees in the amount of less than twenty live thousand dollars
(525,000.00) exclusive of costs, interest and attomey’s fees.

COUNT III

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORT]NG ACT
' BY EXPERIAN

35. Plaintiffrealleges the above paragraphs as if recited verbatim

36. Defendaiit Experian prepared, compiled, issued, assembled, transferred, published and

otherwise reproduced consumer reports regarding Mr. Essa as that

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Usc iesia. §§ w Cr;`
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37. Such reports contained information about Mr. Essa that was false, misl ` anq> <
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inaccurate ,c?_§; § CJ

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38. Experian negligently failed to maintain and/or follow reasonable procedures to assure

maximum possible accuracy of the information it reported to one or more third parties
pertaining to Mr. Essa, in violation of 1-5 USC 1681e(b).
39. Atter receiving Mr. Essa’s consumer dispute to the Errant Trade Line, Experian
negligently failed to conduct a reasonable reinvestigation as required by 15 U.S.C. 1681i.
40. As a direct and proximate cause of Experian’s negligent failure to perform its duties
under the FCRA, Mr. Essa has suH`ered actual damages, mental anguish and suffering,

hinniliation and embarrassment

41. Experian is liable to Mr. Essa by reason of its violation ofthe FCRA in an amount to be

determined by the trier fact together with his reasonable attorneys’ fees pursuant to 15
USC 16810.

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wHE`REFoRE, PLAer'F PRAYS claims court gram him ajudgm'em against
Experian for actual damaged costs, interest and attorneys’ fees in the amount of less than twenty
ive thousand dollars ($25,000.00) exclusive of oosts, interest and attorney’s fees.
v _» . COUNT IV
WILLFUL VlOLATION OF 'I`HE FAIR CREDIT REPORTWG ACT
BY EXPERIAN \

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42. Plaintiffrcalleges the above paragraphs as if recited verbatim
43. Defendant Experian preparcd, compiled, issued, assembled, transferred, published and
ctherwisereprodtwed consumer reports regarding Mr. Essa as thattermis defined in 15
USC 1681a. _ `
44. Such reports contained information about Mr. Essa that was false, misleading and
45. Experian willfully failed to maintain and/or follow reasonable procedures to assure
maximum possible accuracy of the information that it reported to one or more third
pmes pertaining to Mr. Essa, in violation of 15 USC léSle(b).
46. Atter receiving Mr. Essa’s consumer dispute to the Errant Trade Line, Experian willfully
failed to conduct a reasonable reinvestigation as required by 15 U.S.C. 1681i.
47.Asadimanapm,smal¢caus¢orsxpernn'swinsnranmeeperformia ducesde
the FCRA, Mr. Essa has suffered actual damages, mental anguish and suffering,

hmniliation and embarrassment

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48. Experian is liable to Mr. Essaby reason ofits violations ofthe FCRA in an amountto be

determined by the trier of fact together with his reasonable attorneys’ fees pursuant to 15
USC 1681n.

mansonn, PLAn~rrrFF PnAYs that this chart grant him ajudgment against
Defendant Experian for the greater of statutory or actual damages, plus punitive damages along
with costs, interest and reasonable attorneys’ fees in the amount of less than twenty five thousand
dollars ($25,000.00) exclusive br costa interest and attorneys rees

COUNT V

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
BY EQUIFAX

49. Plainti.&` realleges the above paragraphs as if recited verbatim.

50. Defendant Equifax prepared, compiled, issued, assembled, nansferred, published and
otherwisereproduced consumer reports regarding Mr. Essa asthatterm is defined in 15
Usc testa ' '

51. Such reports contained information about Mr. Essa that was false, misleading and

52. Equifax negligently failed to maintain and/or follow reasonable procedures to assure
maximum possible accuracy of the information it reported to one or more third parties
pertaining to Mr. Essa, in violation of 15 USC l681e{b).

. 53. Afterrcceiving Mr. Essa’s consumer dispute to the Errant Trade Line, Equifax

negligently failed to conduct a reasonable reinvestigation as reqmred` by §§ U.§C lWi, §

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54. As a direct and proximate cause of Equifax’s negligent failure _to perform its duties under
the FCRA, Mr. Essa has suffered actual damages, mental anguish and suffering
humiliation and embarrassment 4

55 EquifaxisliabletoMr. EssabyreasonofitsviolationoftheFCRAmanamounttobe

 

determined by the trier fact together with a reasonable attorneys’ fees pursuant to 15

 

USC 16810.

.WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against
Equiiiix for actual damages, costs, interest and attorneys’ fees in the amount of less than twenty
Hve thousand dollars (325',000.00) exclusive of costs, interest and attomey’s fees

COUNT VI

WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
BY EQUIFAX

56. Plainti£"realleges the above paragraphs as if recited verbatim.

57 . Defendant Equifax prcpared, compiled, issued, assembled, transferred, published and
otherwise reproducedconsumerreports regarding Mr. Essaasthatterm is defined in 15
USC 1681a. l y

5 8. Sucli reports contained information about Mr. Essa that was false, misleading and

59. Equifax williillly failed to maintain and/or follow reasonable procedures to assure
maximum possible accuracy of the information that it reported to one or more third
parties pertaining to Mr. Essa, in violation of 15 USC léSle(b).

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48. Experian is liable to Mr. Essa by reason ofits violations ofthe FCRA in an amount to be
determined by the trier of fact together with his reasonable attorneys’ fees pursuant to 15
USC 1681n.

wHEREFoRE, PLAINTmF PRAYS dmi this court gmi him a judgment agaidsi
Defendant Experian for the greater of statutory or actual damages, plus punitive damages along
with costs, interest and reasonable attorneys’ fees in the amount of less than twenty five thousand
dollars ($25,000.00) exclusive of costs, interest and attorney’s fees.

CD_UNT V

NEGIJGENT VIOLATION OF THE FAIR CRED!T REPORTING ACT
BY EQUIFAX

49. Plaintiifrealleges the above paragraphs as if recited verbatim.

50. Defendant Equi£ax prepared, compiled, issued, assembled, transfened, published and .
otherwise reproduced consumer reports regarding Mr. Essa as that term is defined in 15
Usc issi'o `

si. soon reports contained information about Mr. sosa that was idso, unloading dod
inaccurate

52. Equifax negligently failed to maintain and/or follow reasonable procedures to assure
maximum possible accuracy of the information it reported to one or more third parties
pertaining to Mr. Essa, in violation of 15 USC 1681e(b).

. 53. Afier receiving Mr. Essa’s consumer dispute to the Errant Trade Line, Equifax

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negligently failed to conduct a reasonable reinvestigation as required b"y §§ U'§_‘C 1 Wi ii
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oo. Attet moeiving Mr. sense oonenmet dispute to the anent none Line, Eqnifex wiiidiuy l
renedtooondneteteeeonahiereinvestigationeotequiredhy15 U.s.c. losii. l

61. As adirect and proximate cause oquuifax’s willful failure to perform its duties under
the Fan, Mr. need hen entreted eoniei demogee, mental anguish end duration
himiliation and embarrassment

62. Equifax is liable to Mr. Essa by reason of its violations of the FCRA in an amount to be
determined by the trier offeet together with his reasonable attorneys fees pendent to 15

USC 168111.

WHEREFORE, PLAINTH'F PRAYS that this court grant him a judgment against
.Defendant Equifax for the greater of statutory or actual damages, plus punitive damages along
with costs, interest and reasonable attorneys’ fees in the amotmt of less than twenty five thousand

dollars ($25,000.00) exclusive of costs, interest and attorney’s fees.

COUNT VII

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
BY TRANS UNION

63. Plainti&`s reallege the above paragraphs as if recited verbatim
64. Defendant Trans Union prepared, compiled, issued, assembled, nansferred, published and
otherwise reproduced consumer reports regarding Plaintiii`as that term is defined in 15

USC 1681a. l
. 65. Su'ch reports contained information about Plainti&`that was false, migétiing§nd `m/J
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inaccurate 232 ~ w 0
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66. 'l`rans Union negligently failed to maintain and/or follow reasonable procedures to assure
maximum possible accuracy of the information it reported to one or more third parties
pertaining to Plaintiti`, in violation of 15 USC 1681e(b).

67. ARer receiving Plaintiii’s consumer dispute to the Errant 'l`rade Line, Trans Union
negligently failed to conduct a reasonable reinvestigaticn as required by 15 U.S.C. 1681i.

68. As a direct»and proximate cause cf Trans Union’s negligent failure to perform its duties
under the FCR.A, Plaintiffhas suffered actual damages, mental anguish and su&`ering,
humiliation and embarrassment

69. Trans Union is liable to Plaintii.’r` by reason of its violation of the FCRA in an amount to
be determined by the trier met together with his reasonable attorneys’ fees pursuant to 15
USC 16810.

wnEnEFoRE, rLAlNTrFF PRAYS that thin nunn grant hhn n judgment against
Trans Union for actual damages, costs, interest and attorneys’ fees in the amount of less than
twenty five thousand dollars ($25,000.00) exclusive of costs, interest and attorney’s fees.
COUNT V]]I

WILLFUL VIOLATION OF THE FA!R CREDIT REPORTING ACT
BY TRANS UNION

70. Plainti&`realleges the above paragraphs as if recited verbatim
71 . Defendant Trans Union prepared, compiled, issued, assembled, transferred published and
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72. sneh reports eenrnined infnrmnnen ebenr meinn'fnhnr was false misleading end

73. nnns Unien winnaly failed re mninnein and/er renew reasonable procedures ne ensure
maximum possible accuracy of the information that it reported to one or more third
paine pertaining re Pininnn, in vietnn'en of 15»Usc 1681e(b)1
74. Afoer receiving Plainti:&’s consumer dispute to the Errant Trade Line, Trans Union
l willfc.zlly failed to conduct a reasonable reinvestigation as required by 15 U.S.C. l681i.
'75. As a direct and proximate cause of Trans Union’s willful failure to perform its duties
underthe FCRA, Plainti&`has suH`ered actual damages, mental anguish and suifering,

hmniliau'on and embarrassment

76. Trans Union is liable to Plaintiii` by reason of its violations of the FCRA in an amount to

be determined by the trier of fact together with his reasonable attorneys’ fees pursuant to
15 Usc lesin.

WHEREFORE, PLAINT!FF PRAYS that this court grant him ajudgment against
Defendant Trans Union for the greater of stamfory or actual damages, plus punitive damages

along with costs, interest and reasonable attorneys’ fees in the amount of less than twenty live

thousand dollars (525,000.00) exclusive of costs, interest and attorney’s fees.

JURY DEIVIA.ND
Plaintii`hcrcby demands a trial by Jury.~

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Reepectl"ully submitted,

December 19, 2016 .\5 '}~} \.b /MLQ_Y
. ARY D.\NITsz 155)
TRAVIS SHACKELFORD ('P68 O)
MICHIGAN CONSUMER CREDlT LAWYERS
Attomeys for Plainti&`
22142 West Nine Mile Road
Southiield, MI 48033
(248) 353-2882
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